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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

USA,

                  Plaintiff,                               4:17CB3003
                                                       VIOLATION L0199394
       vs.

DAVID M. MARTINEZ,                                            ORDER

                  Defendant.
                                         I

       Defendant has made full payment of the fine and costs due in this matter.
Therefore,

       IT IS ORDERED:

       The defendant shall be released from custody.




       August 11, 2017.

                                             BY THE COURT:

                                             s/ Cheryl R. Zwart
                                             United States Magistrate Judge
